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18MI-CV00616 - JERRY DAVIS V GG BARNETT TRANSPORT, INC ET
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11/20/2018 [] Response Filed
Plaintiffs Response And Suggestions In Opposition To Defendant Brandon M Dowells Motion To Dismiss;
Electronic Filing Certificate of Service.
Filed By: ZANE THOMAS CAGLE
On Behalf Of: JERRY DAVIS

L] Reply
Plaintiffs Reply To Defendants Response For Change of Venue; Electronic Filing Certificate of Service.
Filed By: ZANE THOMAS CAGLE

11/16/2018 [7] Return Scheduled
Scheduled For: 12/11/2018; 8:59 AM; DAVID ANDREW DOLAN; Mississippi

11/15/2018 [_] Response Filed
Defendant Brandon M Dowells Response to Plaintiffs Motion For Change of Venue; Electronic Filing
Certificate of Service. forward to Judge

Filed By: TED L PERRYMAN
On Behalf Of: BRANDON M DOWELL

[] Suggestions in Support
Defendant Brandon M Dowells Suggestions in Support of Motion to Dismiss; Electronic Filing Certificate of
Service. forward to Judge
Filed By: TED L PERRYMAN
[] Motion to Dismiss
Defendant Brandon M Dowells Motion to Dismiss; Etectronic Filing Certificate of Service. Forward to
Judge
Filed By: TED L PERRYMAN

C] Entry of Appearance Filed
Entry of Appearance; Electronic Filing Certificate of Service.

Filed By: RACHEL LEA BROWN
On Behalf Of: BRANDON M DOWELL

CL] Entry of Appearance Filed
Filed By: KORISSA MARIE NEWELL
On Behalf Of: BRANDON M DOWELL

C1] Entry of Appearance Filed
Entry of Appearance; Electronic Filing Certificate of Service.
Filed By: TED L PERRYMAN
On Behalf Of: BRANDON M DOWELL

10/22/2018 [] Family Member/Roommate Served

Document ID - 18-SMCC-460; Served To - DOWELL, BRANDON M:; Server - SO MISSISSIPPI CO-
CHARLESTON; Served Date - 16-OCT-18; Served Time - 20:21:00; Service Type - Sheriff Department;
Reason Description - Served; Service Text - SERVED TO KATRINA DOWELL (WIFE)

LJ Summ Reg-Circuit Pers Serv
EXHIBIT

1A

https://www.courts.mo.gov/casenet/cases/searchDockets.do TO 12/7/2018
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Affidavit of Service- Brandon Dowell.
Filed By: ZANE THOMAS CAGLE
On Behalf Of: JERRY DAVIS

10/11/2018 [] Summons Issued-Circuit
Document ID: 18-SMCC-460, for DOWELL, BRANDON M.
[] Motion for Change of Venue
Motion For Change of Venue.
Filed By: ZANE THOMAS CAGLE
On Behalf Of: JERRY DAVIS
[] Filing Info Sheet eFiling
Filed By: ZANE THOMAS CAGLE
[] Note to Clerk eFiling
Filed By: ZANE THOMAS CAGLE
L] Pet Filed in Circuit Ct
Petition.
On Behalf Of: JERRY DAVIS
(1 Judge Assigned

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https://www.courts.mo.gov/casenet/cases/searchDockets.do 12/7/2018
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IN THE CIRCUIT COURT OF MISSISSIPPI COUNTY

STATE OF MISSOURI
CIRCUIT JUDGE DIVISION

JERRY DAVIS )
)

Plaintiff, ) Cause No.: 18MI-CV00616
Vv. )
)
G.G. BARNETT TRANSPORT, INC.; & )
BRANDON M. DOWELL )
)
)
Defendants. )

PLAINTIFF’S RESPONSE AND SUGGESTIONS IN OPPOSITION TO DEFENDANT.
BRANDON M. DOWELL’S MOTION TO DISMISS

COMES NOW Plaintiff, Jerry Davis (hereinafter “Plaintiff’), by and through his
attorneys of record, The Cagle Law Firm, for his response to Defendant Brandon M. Dowell’s
(hereinafter “Defendant”) Motion to Dismiss on the basis of forum non conveniens, and states to
this Honorable Court as follows:

BACKGROUND

On December 13, 2016, at around 12:25 a.m., near the Township of East Lincoln, Logan
County, Illinois, Plaintiff traveled in the right-hand of northbound Interstate 55 in a semi-truck.
At the same time, Defendant, drove a tractor-trailer as an agent, servant, and/or employee of
G.G. Barnett Transport, Inc. (hereinafter “Defendant G.G. Barnett Transport”) in the left-hand
lane of northbound I-55. When Defendant switched from the left lane to the right lane, he
clipped the rear left portion of Plaintiff's semi-truck, causing Plaintiff to spin out of control. As

a result of Defendant’s negligence, Plaintiff has alleged injuries and damages.

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Although the collision occurred in Lincoln County, Illinois, Plaintiff filed suit in the
Circuit Court of Mississippi County against Defendant and Defendant G.G. Barnett Transport.
Plaintiff chose to file the case in Mississippi County because Defendant is a resident and citizen
of Mississippi County pursuant to RSMo. § 508.010.2.(3). Moreover, Plaintiff filed his claim in
this Court since Defendant acted as an agent, servant, and/or employee of Defendant G.G.
Barnett Transport, and because Defendant G.G. Barnett Transport conducts business and
interstate trucking throughout the State of Missouri.

On November 15, 2018, Defendant filed a Motion to Dismiss, premised upon forum non
conveniens. Notably, Defendant G.G. Barnett Transport, a foreign corporation with its principal
place of business in Wisconsin, has not contested venue or personal jurisdiction.

STANDARD

“A plaintiff has the right to choose any forum where there is proper jurisdiction and
venue in which to file the plaintiff's cause of action.” State ex rel. Wyeth v. Grady, 262 S.W.3d
216, 219-20 (Mo. banc 2008). However, under the doctrine of forum no conveniens, plaintiffs
cannot take “advantage of liberal venue statutes to ‘vex, oppress, or harass’ a defendant by
bringing suit in a forum that had no connection to the parties or the cause of action.” Jd. (quoting
Anglim v. Missouri Pacific R. Co., 832 S.W.2d 298, 302 (Mo. banc 1992)). The doctrine allows
“the trial court to dismiss a suit if it is filed in a ‘manifestly inconvenient’ forum.” /d. (quoting
Besse v. Missouri Pacific R. Co., 721 S.W.2d 740, 742 (Mo. banc 1986)). Trial courts have the
discretion to grant or deny motions to dismiss on the grounds of forum non conveniens, and,
upon review, the appellate court will examine the trial court’s decision with an abuse of

discretion standard. Anglim v. Missouri Pacific R. Co., 832 S.W.2d 298, 303.

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Missouri courts have held that dismissal of an action due to forum non conveniens is an
extreme remedy and in reviewing such motions the trial court should accept all statements in the
plaintiff's petition as true so as to support the existence of a cause of action. Dore & Associates
Contracting, Inc. v. Missouri Dept. of Labor & Indus. Relations Com’n, 810 S.W.2d 72, 77 (Mo.
App. W.D. 1990) (citing Bailey v. Richardson, 667 S.W.2d 720, 722 (Mo. App. 1984)).

In Missouri, courts look at six (6) non-exclusive factors in weighing a claim for dismissal
on forum non conveniens. Those factors are: “(1) the place where the cause of action accrued;
(2) the location of witnesses; (3) the residence of the parties; (4) any nexus with the place of suit;
(5) the public factor of the convenience to and burden on the court; and (6) the availability of the
plaintiff of another court with jurisdiction over the cause of action that affords him a forum for
his remedy.” Grady, 262 S.W.3d at 220 (citing State ex rel. Chicago, R.I. & P.R. Co. v.
Riederer, 454 8.W.2d 36, 39 (Mo. banc 1970)). “The weight assigned each factor to be
considered varies because application of forum non conveniens is ‘fact intensive’ and depends
upon the circumstances of each case.” State ex rel. Kansas City Southern Ry. Co. v. Mauer, 998
S.W.2d 185, 189 (Mo. App. W.D. 1999) (quoting Connour v. Burlington N. R.R. Co., 889
5.W.2d 138, 143 (Mo. App. 1994)). To prove forum non conveniens, the moving party must
present specific and “factual information about the nature of the inconvenience.” Jd. at 221.
“[G]eneral assertions are not sufficient.” Jd. at 222. The moving party must also prove with
sufficient evidence that it is not appropriate to litigate the case in Missouri. See generally Id. at

223. [Emphasis Added].

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ARGUMENT
1. THE DEFENDANT FAILS TO PRESENT SPECIFIC AND FACTUAL
INFORMATION ABOUT THE NATURE OF THE INCONVENIENCE
UNDER THE NON-EXCLUSIVE RIEDERER FACTORS.
A. The Place of Accrual of the Cause of Action Does not Favor Plaintiff.
Plaintiff readily admits that the first non-exclusive Reiderer factor, the place of accrual of
the cause of action, does not favor Plaintiff's position that venue is proper in Mississippi County,
State of Missouri. This cause of action arose in the State of Illinois since both Defendant and
Plaintiff were traveling northbound on I-55 in Illinois at the time of the collision. The fact that
the first Riederer factor does not favor Plaintiff is of little consequence. In State ex rel. Wyeth v.
Grady, “none of the plaintiffs’ causes of actions accrued in Missouri.” Grady, 262 S.W.3d at
221. Indeed, most of the actions accrued in northeastern states, not Missouri. /d. This did not
stop the Missouri Supreme Court from concluding that the case should not be dismissed for
forum non conveniens. Therefore, despite the fact that the first Riederer factor does not favor
Plaintiff, it is of little consequence since nearly all the other factors, as examined below, do favor

Plaintiff.

B. Defendant Failed to Show Sufficient Evidence that the Location of Witnesses
Presents an Issue of Inconvenience.

In his Motion to Dismiss, Defendant failed to show with sufficient evidence that the
location of witnesses to quantify such an inconvenience. “[T]he moving party has the initial
burden of establishing the relative inconvenience caused by the witnesses’ location.” Anglim,
832 S.W.2d at 304. In order to prove the significance of the location of witnesses in this case,
the moving party must show sufficient evidence as to the identity of “any actual witness, the
location of any witness, or even the number of witnesses anticipated.” Grady, 262 S.W.3d at

221. “The mere fact that more witnesses are located in another state than are located in Missouri

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does not conclusively establish the question of witness location favorably to the defendant.”
Anglim, 832 S.W.2d at 304.

In Anglim, one out of eight specifically identified witnesses lived in Missouri. /d. Seven
of the eight lived in Nebraska. Id. In Grady, the defendants failed to satisfy the second Riederer
factor because they did not specifically identify, locate, or anticipate the number of witnesses
that they expected to call. Grady, 262 S.W.3d at 221. Instead, the defendants simply identified
potential witnesses that the plaintiff might call who resided out-of-state. Id.

In this case, Defendant fails to specifically identify how potential witnesses will be
harmed by having the case heard in Missouri. Indeed, no evidence has been provided showing
that this might be the case. Showing that Plaintiff's medical provider presumably is not located
in Missouri has no bearing on Defendant’s case. However, Defendant lives only miles from this
Court. Thus how can he argue that it not convenient to appear? In his Motion to Dismiss,
Defendant cannot identify, locate, or anticipate the number of witnesses that he expects to call at
trial, a failure which he shares with the Defendants in Grady. Therefore, Defendant has not met
his burden establishing the relative inconvenience caused by the witnesses’ location in this case,
failing the second Riederer factor.

C. The Third Riederer Factor, the Residence of the Parties, Resolves in Favor of
Plaintiff in this Case.

The third Riederer factor, the residence of the parties, benefits Plaintiff in this case, and
suggests that the claim should not be dismissed. Missouri’s venue statute § 508.010.2(3) states
that “when there are several defendants, some residents and others nonresidents of the state, suit
may be brought in any county in this state in which any defendant resides.” Here, Defendant

G.G. Barnett Transport is a foreign corporation with its principal place of business in Wisconsin.

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Defendant Dowell, however, is a citizen of Mississippi County. Therefore, under Missouri’s
venue statute § 508.010.2(3), venue is proper in Mississippi County.

Contrary to Defendant’s contention in his Motion to Dismiss, the fact that Defendant
Dowell is a citizen of Mississippi County greatly outweighs that fact that Defendant G.G. Barnett
Transport is a foreign corporation based in Wisconsin. In Grady, “None of the defendant
pharmaceutical companies [was] incorporated or headquartered in Missouri.” Grady, 262
S.W.3d at 221. Indeed, the Missouri Supreme Court noted, “It is undisputed that no party in
these suits is a Missouri resident.” The mere fact that the corporate defendant becomes burdened
with some apparent inconvenience by having the case heard in Missouri is “insufficient to
quantify the inconvenience to the companies caused by plaintiffs’ and defendants’
nonresidence.” Id.

In this case, Defendant G.G. Barnett Transport is a foreign corporation with its principal
place of business located in Wisconsin. But as the Missouri Supreme Court in Grady noted, this
fact is of little consequence since “[a] corporation may be created under the laws of one state,
have its headquarters in another state, and do its primary business in yet one or more other
states.” Anglim, 832 S.W.2d at 304. The transportation of goods to and from Missouri is enough
to make venue proper in Missouri. Jd. Further, foreign corporations have far greater resources
than do individual parties. They can often afford to have representatives flown to another state,
have attorneys litigate on its behalf, and resolve claims in other states without expending
tremendous resources. Defendant on the other hand, would be greatly inconvenienced having
the claim litigated elsewhere as it would come at considerable expense to him. Therefore, the

third Reiderer factor favor Plaintiff, not Defendant in this case.

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D. There Is a Nexus between the Lawsuit and the Place the Suit Is Brought.

The fourth non-exclusive Reiderer factor for forum non conveniens requires there to be a
nexus between the lawsuit and the place where the suit is brought. As was stated supra,
Defendant is a citizen and resident of Mississippi County. Defendant G.G. Barnett Transports
conducts shipping activities throughout the State of Missouri. Whether Plaintiff lives in
Missouri or in South Carolina is of no consequence. Both Defendants in the case either live in
Missouri or conduct regular business in Missouri.

In both Anglim and Grady, while no apparent nexus existed between those cases and
Missouri, the fact that both defendants conducted some business in Missouri was enough to
establish a nexus. Amglin, 832 S.W.2d at 304; Grady, 262 S.W.3d at 221. In Grady, the
defendant corporation attempted to argue that hearing the cases in St. Louis would require the
parties to travel great distances and incur expenses. /d. The Missouri Supreme Court rebutted
that argument, noting that “it is likely that any forum available would be equally inconvenient to
the companies.” /d. In this case, Defendant G.G. Barnett Transports has its principal place of
business in Wisconsin while Defendant Dowell is a resident and citizen of Missouri. If Illinois
were chosen as the more convenient forum, both Defendants would be forced to incur travel
expenses and travel great distances. In contrast, resolving the case in Missouri would only
require Defendant G.G. Barnett Transport, not Defendant, to incur travel expenses. Furthermore,
both counsel for the parties are much closer to Mississippi County, Missouri than Wisconsin.
Likewise, the distance from counsels’ office to either Mississippi County, Missouri or Logan
County, Illinois is approximately the same. Therefore, just as in Grady, the weight of this factor
in determining whether trial in Missouri would be oppressive to Defendants is limited. See

Grady, 262 §.W.3d at 221-22.

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E. Defendant Presented No Evidence Suggesting that Litigating the Case in
Missouri would be a Burden on Missouri Courts.

In his Motion to Dismiss, Defendant failed to provide sufficient evidence suggesting that
Missouri courts are burdened by this cause of action. Under Missouri Rule 55.21(b), where the
law of another state applies, “the courts of this state shall take judicial notice of the public
statutes and judicial decisions of said state.” Indeed, “Missouri courts are capable of applying
the laws of other states without creating undue burden on the court system.” Taylor v. Farmers
Ins. Co., Inc., 954 $.W.2d 496, 502 (Mo. App. W.D.) (citing Missouri Supreme Court Rule
55.21(b)). “Likewise, the applicability of a foreign jurisdiction’s law to the action does not
justify the trial court’s dismissal.” /d. Furthermore, for parties asserting forum non conveniens,
“Statistical data may be submitted to support a claim that the caseload of the trial court is so
overwhelming that the case cannot be expeditiously litigated in the jurisdiction where the case is
filed.” Anglim, 832 S.W.2d at 304. Some Missouri courts have suggested that parties asserting
forum non conveniens to provide statistical data showing the trial court’s overwhelmed docket.
See Grady, 262 S.W.3d at 222; Taylor, 954 S.W.2d at 502.

In Taylor, the defendant did not offer statistical data to show that litigating the case posed
a burden on the court. Taylor, 954 S.W.2d at 502. The Court of Appeals determined that the
lack of statistical data weighed against dismissal of the case on the ground of forum non
conveniens. Id. Here, Defendant did not provide any specific data to support his assertion that
litigating this case in Missouri would unduly burden the state’s trial courts. Therefore, in
weighing the fifth Reiderer factor, there is no undue burden upon Missouri courts in litigating

this case.

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F. Just Because Plaintiff Could Bring this Case in Another Forum; That Does
Not Mean that the Court Is Required to Dismiss the Case on Forum Non
Conveniens Grounds.

The sixth Reiderer factor—the availability of another court with jurisdiction affording a
forum for plaintiff's remedy—does suggest that Plaintiff's case could be adjudicated in Illinois.
However, just because Plaintiff could adjudicate his case in I/linois does not mean that this Court
is required to dismiss on grounds of forum non conveniens. In weighing the sixth Reiderer
factor, “the applicability of a foreign jurisdiction’s law to the action does not justify the trial
court’s dismissal.” Taylor, 954 S.W.2d at 502. Furthermore, general assertions that another
state is capable of handling Plaintiff's claim are not sufficient for purposes of the sixth Reiderer
factor. Grady, 262 S.W.3d at 222.

In this case, Defendant makes a general assertion that Illinois is the proper venue for
Plaintiff's claim. Defendant provides little to no evidence in support of this general assertion.
That is insufficient pleading under Grady. Moreover, Plaintiff readily admits that this case could
be resolved in Illinois since the collision occurred in Illinois, But this Court cannot take into
account the applicability of Illinois’ laws in dismissing the case for forum non conveniens.

When weighed against all of the other factors as discussed supra, there are plenty of reasons why
Plaintiff's case should be litigated in Missouri. Specifically, Defendant resides only miles from
this Court; it would not impose a burden on the courts, nor the two Defendants, to have the claim
heard in Missouri; Plaintiff's attorneys are located in Missouri; and Defendant has not
sufficiently given this Court specific facts and data to prove that another venue is more
appropriate. Therefore, although the sixth Reiderer weighs slightly against Plaintiff, the other

facts substantially outweigh dismissal in this case.

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Il. ALTERNATIVELY, SHOULD THIS COURT FAVOR DISMISSAL,
PLAINTIFF REQUESTS THAT THE COURT DISMISS HIS CLAIMS
WITHOUT PREJUDICE.

In the alternative, should the Court decide to dismiss Plaintiffs claims against Defendant
for forum non conveniens, Plaintiff respectfully requests that the Court do so without prejudice
so that Plaintiff can re-file his claim in an alternative venue. In Missouri, “A dismissal for forum
non conveniens is necessarily a dismissal without prejudice.” Acapolon Corp. v. Ralston Purina
Co., 827 S.W.2d 189, 195 (Mo. banc 1992). Therefore, should this Court be swayed to grant
Defendant’s Motion to Dismiss, Plaintiff requests that the Court dismiss his claims without
prejudice.

CONCLUSION
Defendant’s Motion to Dismiss should not be granted by the Court on the grounds of
forum non conveniens. While it is true that the collision occurred in Illinois, in weighing the
Reiderer factors, there is no justification for dismissal. Indeed, dismissal of an action is an
extreme course of action for a court to take, especially since the Reiderer factors show that
dismissal is not appropriate under the circumstances of this case. Therefore, this Court should
deny Defendant’s Motion to Dismiss based upon forum non conveniens.

WHEREFORE, Plaintiff Jerry Davis respectfully requests this Court to deny Defendant
Brandon M. Dowell’s Motion to Dismiss for forum non conveniens, or, in the alternative, dismiss
Plaintiff's case without prejudice so that he may re-file his claim in an alternative venue, and for

such other relief as the Court deems just and proper under the circumstances.

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Respectfully Submitted,

THE CAGLE Cc

  

CERTIFICATE OF SERVICE

This hereby certifies that on this 20" day of November, 2018, copies of the foregoing was
served upon the attorneys of record below via this Court’s ECF filing system:

ROBERTS PERRYMAN P.C.

Ted L. Perryman

Korissa M. Zickrick

Rachel L. Capel

1034 S. Brentwood Blvd., Suite 2100
St. Louis, MO 63117

Phone: (314) 421-1850

Fax: (314) 421-4346

Attorney for Defendant

By
Zane Cagle; MO #53775

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IN THE CIRCUIT COURT OF MISSISSIPPI COUNTY

STATE OF MISSOURI
CIRCUIT JUDGE DIVISION

JERRY DAVIS )
)

Plaintiff, ) Cause No.: 18MI-CV00616
Vv. )
)
G.G. BARNETT TRANSPORT, INC.; & )
BRANDON M. DOWELL )
)
)
Defendants. )

PLAINTIFF’S REPLY TO DEFENDANT’S RESPONSE FOR CHANGE OF VENUE
COMES NOW Plaintiff, Jerry Davis (hereinafter “Plaintiff’), by and through his
attorneys of record, The Cagle Law Firm, for his Reply to Defendant’s Response for Change of

Venue, and states to this Honorable Court as follows:

1. On October 16, 2018, the wife of Defendant Brandon M. Dowell (hereinafter
“Defendant”), Katrina Dowell, received service at their home on his behalf. Plaintiff's Exhibit
#1, Summons.

2. Under Missouri Supreme Court 54.13(b)(1), personal service may be made “‘by leaving a
copy of the summons and petition at the individual’s dwelling house or usual place of abode with
some person of the individual’s family over the age of fifteen years.”

3. Katrina Dowell, as Defendant’s wife, was authorized to accept service on Defendant’s
behalf under Missouri Supreme Court Rule 54.13(b)(1); thus, Defendant was served in this case.
4. Missouri Supreme Court Rule 51.03 grants parties in a civil action triable by jury the
right to transfer venue for actions pending in a county having seventy-five thousand (75,000) or

less inhabitants.

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5. Upon timely filing of application to the Court, the Court shall order a change of venue.
Missouri Supreme Court Rule 51.03(a).

6. “The applicant need not allege or prove any cause for such change. The application need
not be verified and may be signed by any party.” Missouri Supreme Court Rule 51.03(a).

7. Rule 51.03(b) requires that a “copy of the application and notice of the time when it will
be presented to the court shall be served on all parties.”

8. By right, parties may suggest where the case shall be sent upon motion for change of
venue under Rule 51.03.

9. Plaintiff requests a change of venue to St. Louis County or Scott County.

10. St. Louis County is a convenient venue because Plaintiff's attorneys, as well as
Defendant’s attorneys, are located in and around St. Louis County.

11. Scott County is a convenient venue because Defendant’s live in Mississippi County, and
Scott County is an adjoining county and is in the same judicial circuit.

WHEREFORE, Plaintiff Jerry Davis respectfully requests this Court to grant Plaintiff's

Motion to Transfer Venue, and for such other relief as this Court deems just and proper under the

circumstances.

   
  

Respectfully Submitt

THE CAGLE

 

  

ail: zane@caglellc.com

ttorneys for Plaintiff

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CERTIFICATE OF SERVICE

This hereby certifies that on this 20" day of November, 2018, copies of the foregoing was
served upon the attorneys of record below via this Court’s ECF filing system:

ROBERTS PERRYMAN P.C.

Ted L. Perryman

Korissa M. Zickrick

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Phone: (314) 421-1850

Fax: (314) 421-4346

Attorney for Defendant

By 4
Zane Cable, MO #53775

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IN THE CIRCUIT COURT OF MISSISSIPPI COUNTY

STATE OF MISSOURI
CIRCUIT JUDGE DIVISION
JERRY DAVIS, )
)
Plaintiff, } Cause No. 18MI-CV00616
)
vs. )
)
GG BARNETT TRANSPORT, INC. and )
BRANDON M. DOWELL, )
)
Defendants. )

DEFENDANT BRANDON M. DOWELL’S RESPONSE
TO PLAINTIFF’S MOTION FOR CHANGE OF VENUE

COMES NOW Defendant, Brandon M. Dowell, by and through counsel, Roberts
Perryman, P.C., and for his Response to Plaintiffs Motion for Change of Venue states as
follows:

Pursuant to Missouri Supreme Court Rule 51.03, a change of venue shall be ordered in a
civil action triable by jury that is pending in a county having seventy-five thousand or fewer
inhabitants upon the filing of a written application. This Motion was NOT served on Defendant
Dowell as required by Rule 51.03. Plaintiff has filed said request and proposed St. Louis County
or Scott County as possible alternative venues. Defendant objects to St. Louis County or Scott
County as being appropriate venues as there is absolutely no connection to this accident, any
party or witness in either St. Louis County or Scott County and neither county is more
convenient to the parties as Plaintiff resides in South Carolina, Defendant GG Barnett Transport

is a Wisconsin corporation and Defendant Dowell resides in Mississippi County, Missouri.

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WHEREFORE, Defendant Brandon M. Dowell, respectfully requests this Court deny

Plaintiff's Motion to Transfer Venue, and for such other further relief as the Court deems just

and proper.

Respectfully submitted,

ROBERTS PERRYMAN P.C.

/s/ Ted L. Perryman

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Attorneys for Defendant Brandon M. Dowell

CERTIFICATE OF SERVICE

The undersigned certifies that on this 15th day of November, 2018, copies of the
foregoing were served on the following counsel of record via the court’s ECF filing system:

Zane T. Cagle #53775

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/s/ Ted L. Perryman

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Case: 1:18-cv-00289-SNLJ Doc. #: 1-1 Filed: 12/10/18 Page: 19 of 56 PagelD #: 22

IN THE CIRCUIT COURT OF MISSISSIPP] COUNTY

STATE OF MISSOURI
CIRCUIT JUDGE DIVISION
JERRY DAVIS, )
)
Plaintiff, ) Cause No. 18MI-CV00616
)
vs. )
)
GG BARNETT TRANSPORT, INC. and ) Division No.
BRANDON M. DOWELL, )
)
Defendants. )

DEFENDANT BRANDON M. DOWELL’S
SUGGESTIONS IN SUPPORT OF MOTION TO DISMISS

COMES NOW Defendant, Brandon M. Dowell, by and through his attorneys, Roberts
Perryman, P.C. and moves this Court to dismiss Plaintiff's Petition against Defendant on the
basis of forum non conveniens. In support of his Motion, Defendant states as follows:

BACKGROUND

The accident in question occurred on northbound Interstate 55 in the Township of East
Lincoln, Logan County, Illinois on December 13, 2016. On October 11, 2018, Plaintiff Jerry
Davis (“Plaintiff”) filed this suit in the Mississippi County Circuit Court. Plaintiff alleges that he
was injured in a collision between the tractor trailer he was driving and a tractor trailer owned by
GG Barnett Transport, Inc. and driven by Defendant Brandon M. Dowell. Plaintiff alleges that he
was injured when the Defendant Dowell changed lanes, striking the rear end of his trailer.
Plaintiff is a resident of the State of South Carolina. Defendant Brandon M. Dowell is a resident
of Charleston, Missouri. Defendant GG Barnett Transport, Inc. is a Wisconsin corporation with

its principal place of business in Wisconsin.

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Count I alleges negligence against GG Barnett Transport, Inc. Count II alleges negligent
hiring, training, supervising & retaining against GG Barnett Transport, Inc. Count III alleges
negligence against Brandon M. Dowell.

ARGUMENT

I. Missouri courts have recognized, applied and dismissed cases based upon
forum non conveniens

Missouri Courts have long recognized the doctrine of forum non conveniens. See
Chandler _v. Multidata Sys. Int’! Corp., 163 S.W.3d 537 (Mo. App. E.D. 2005); Dalton v.
Consolidated Rail Corp., 1988 Mo. App. LEXIS 1401 (Mo. App. E.D. 1988); Skewes _v.
Masterchem Indus., 164 S.W.3d 92 (Mo. App. E.D. 2005). Under this common law doctrine,
even if a trial court has proper jurisdiction and venue, a trial judge has the discretion to decline
jurisdiction if the forum is inconvenient for the trial of the action involved and if a more
appropriate forum is available to the plaintiff. Chandler v. Multidata Sys. Int’] Corp., 163 S.W.

3d 537, 545 (Mo. Ct. App. 2005). Missouri trial courts are “obliged to give attention to the

doctrine and to dismiss cases which have no tangible relationship to Missouri.” Besse v. Mo.

Pac. R.R. Co., 721 S.W.2d 740, 742 (Mo. 1986). The people of Missouri are not obliged to give
attention to make their courts available for lawsuits in which there is no significant nexus. Id.
The Missouri Supreme Court in State ex rel. Chicago, Rock Island & Pacific R.R. Co. v.

Riederer, 454 S.W.2d 36 (Mo. 1970) (en banc) enumerated six important, but non-exclusive
factors that trial courts should utilize as a guide when analyzing whether a case should be
dismissed based on forum non conveniens:

(1) Place of accrual of the cause of action;

(2) Location of witnesses;

(3) Residence of the parties;

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(4) Any nexus with the place of suit;
(5) The public factor of the convenience to and burden upon the court; and
(6) The availability to plaintiff of another court with jurisdiction of the cause
of action affording a forum for plaintiff's remedy.
Riederer, 454 S.W.2d at 39. The application of the doctrine is fact-intensive and the weight
afforded to any particular factor is dependent on the circumstances of the case. Anglim_v.
Mo.Pac.R.Co., 832 S.W.2d 298, 302 (Mo. 1992).

Missouri courts have repeatedly dismissed cases based on forum non conveniens. For
example, in Rozansky Feed Co. v. Monsanto Co., 579 S.W.2d 810 (Mo. Ct. App. 1979), a New
Jersey corporation who manufactured poultry feed sued Monsanto based upon its sale,
distribution and use of polychlorinated biphenyls (PCBs) which contaminated its feed, and a
New York Company (General host) that purchased the PCBs from Monsanto. Suit was filed in
Jackson County, Missouri and was dismissed by the trial court based on forum non conveniens.
Id. On appeal, the court held that “except for the fact that Monsanto had its principal office in
Missouri and that General host was licensed to and did business in Missouri and thus both were
subject to suit in Missouri, that it was obvious that the case had little, if any, ‘nexus’ with
Missouri and its courts.” Id. at 814.

Similarly, in Acapalon Corp. v. Ralston Purina Co., 827 S.W.2d 189 (Mo. 1992), the
Missouri Supreme Court affirmed a trial court’s order dismissing a case based on forum non
conveniens. In Acapalon Corp., the plaintiff, a Guatemalan company, sued Ralston Purina in St.
Louis City Circuit Court seeking damages based on an allegedly defective and inadequate shrimp

feed it purchased. Id. The Supreme Court, applying the Riederer factors, upheld the dismissal,

 

noting that the claim and damage accrued in Guatemala, the notable witnesses to the claim were

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located there, the plaintiff did not cite witnesses in Missouri, and another forum was available to
the plaintiff. Id. at 193. This dismissal was upheld even though defendant Ralston Purina’s
residence and principal place of business was located in the city of St. Louis, the court noting
“the factor of residence of the defendant is not inevitably controlling.” Id.

Finally, in Skewes v. Masterchem Indus., 164 S.W.3d 92 (Mo. App. E.D. 2005), the court
upheld the dismissal for forum non conveniens of a Canadian plaintiff who was injured while
using a Missouri Corporation’s paint product while she was working in Canada. Although the
plaintiff argued that the cause of action accrued in Missouri because the product was
manufactured there, the Court determined that the product’s origin had little impact on deciding
whether Missouri was the proper forum. Id. at 95. Instead, the Court determined that the scene
investigators, the witnesses, the accident scene, and plaintiff’s co-workers and medical treatment
outweighed the defendant being a Missouri corporation. Id.

I. The Riederer factors favor dismissal of this case

Application of the Riederer factors to the facts of this case demonstrate that dismissal
pursuant to forum non conveniens is warranted. The only connection that this suit has with
Mississippi County is the residence of Defendant Dowell. Defendant GG Barnett Transport, Inc.
is a Wisconsin corporation with its principal place of business in Wisconsin. Plaintiff is a
resident of South Carolina. Most importantly, the accident in question occurred in IIlinois.

A. Place of accrual of the cause of action

The cause of action in this case did not accrue in Missouri. Missouri law dictates that
actions for negligence accrue when ‘the damage resulting therefrom is sustained and is capable

of ascertainment. See Mo. Rev. Stat. §516.100. Here, Plaintiff's cause of action did not accrue in

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Missouri because the accident in which Plaintiff alleges he was involved and injured in, occurred
in Illinois. Thus, the first Riederer factor weighs in favor of dismissal.

B. Location of witnesses

Plaintiff and Defendant GG Barnett are not residents of Missouri. Although Defendant
Dowell is a resident of Charleston, Missouri, as the court held in Acapalon Corp. (supra), the
factor of residence of a defendant is not inevitably controlling. Presumably, none of Plaintiff's
medical providers who might have treated him after the accident are located in Missouri.
Although the investigation is ongoing, there are likely numerous witnesses important to this
litigation are located in Illinois, including first responders, Illinois State Police, investigators, and
site cleanup personnel. Thus, because the witnesses to the accident and resulting accident scene
are located in Illinois, this factor favors dismissal.

C. Residence of the parties

Although Defendant Dowell is a resident of Missouri, the other parties to the action are
not. Defendant GG Barnett Transport is a Wisconsin corporation. As a carrier authorized to haul
freight interstate, the Federal Motor Carrier Safety Administration (FMCSA) requires that an
interstate motor carrier be subject to jurisdiction in any state where it commits an alleged tort.
Pursuant to 49 CFR§366.4(a), the FMCSA requires GG Barnett Transport to have a registered
agent for service of process in every jurisdiction where it operates. It is not alleged that
Defendant GG Barnett nor Defendant Dowell committed any tort in Missouri. Rather, the alleged
tort in this case was committed in Illinois.

Defendant Dowell’s presence in Mississippi County fails to outweigh the fact that all

other parties, incidents, and witnesses originate and exist outside of Missouri. Defendant

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Dowell’s availability to travel to Illinois will not be an issue as he has filed this motion. Like GG
Barnett, a CDL licensed operator consents to the jurisdiction where a tort is alleged.

D. Any nexus with the place of suit

Outside of the residence of Defendant Dowell, Plaintiff's cause of action has absolutely
no nexus with Mississippi County, Missouri or any county in Missouri. Plaintiff has no
connection to Mississippi County as he lives in South Carolina. The circumstances, accident
scene and witnesses are not connected to Mississippi County, Missouri. Plaintiff was not injured
in Mississippi County. Therefore, because there is no nexus between the occurrence that is the
basis of the suit and Missouri, this factor weighs in favor of dismissal.

E. The public factor of the convenience to and burden upon the court

Courts examine a variety of factors and circumstances for this factor, including court
congestion, the local interest in having controversies decided at home, the avoidance of conflict
in law or application of foreign law, and the unfairness of burdening citizens in an unrelated
forum with jury duty. Anglim at 304. Missouri courts have recognized that foreign jurisdictions
have a substantial interest in protecting its citizens from injury. Acapalon at 194. Here, the facts
and circumstances of this case favor dismissal. The cause of action arose in Illinois. An Illinois
court will have a greater interest in deciding the case locally where the accident occurred.
Further, it would be unfair to burden Missouri citizens with jury regarding an accident that
occurred in an unrelated, foreign forum.

Not only would it be unfair to burden Missouri citizens with jury duty for an accident
unrelated to the forum, it would be further burdened by the potential of application of foreign
law to the facts of the case. “In an action for personal injury, the local law of the state where the

injury occurred determines the rights and liabilities of the parties, unless, with respect to the

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particular issue, some other state has a more significant relationship under the principles stated in
§6 to the occurrence of the parties, in which event the local law of the other state will be
applied.” Wilson v. Image Flooring, LLC, 400 S.W.3d 386, 397 (Mo. App. W.D. 2013)(citing
Restatement (Second) of Conflict of Laws §146 (1971)). Here, the injury occurred in Illinois
and Illinois has the more significant relationship to the action. Therefore, this factor favors
dismissal due to the potential conflict and application of foreign laws, and the potential burden of
the application of foreign laws would have on a Missouri jury.

F. The availability to plaintiff of another court with jurisdiction of the cause of
affording a forum for plaintiff’s remedy.

An analysis of the sixth forum non conveniens factor also compels dismissal. Plaintiff
may seek remedy in a court in Illinois, where the accident happened and where the witnesses and
scene is located. As previously stated, Defendant Dowell and GG Transport are subject to the
Jurisdiction and venue of Illinois. Therefore, this case could and should be litigated where the
cause of action arose.

CONCLUSION

This action should be dismissed pursuant to the doctrine of forum non conveniens. The
Riederer factors weigh strongly in favor of dismissal. As the location of the accident, Logan
County, Illinois is a substantially more appropriate forum for this case to be litigated. The
residents of Mississippi County, Missouri should not bear the burden of deciding a case that did
not occur in the forum. Illinois has an interest in resolving this case locally because the events of
the case occurred in Illinois. Therefore, this Court should find that the totality of the

circumstances strongly favors dismissal in favor of an alternative, more convenient form.

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WHEREFORE, Defendant Brandon M. Dowell, respectfully requests this Court to
dismiss this cause of action pursuant to the doctrine of forum non conveniens, and for such other
further relief as the Court deems just and proper.

Respectfully submitted,

ROBERTS PERRYMAN P.C.

/s/ Ted L. Perryman

Ted L. Perryman #28410

Korissa M. Zickrick #56069
Rachel L. Capel #67744

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Attorneys for Defendant

CERTIFICATE OF SERVICE

The undersigned certifies that on this 15th day of November, 2018, copies of the
foregoing were served on the following counsel of record via the Court’s ECF filing system:

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Attorneys for Plaintiff

/s/ Ted L. Perryman

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Case: 1:18-cv-00289-SNLJ Doc. #: 1-1 Filed: 12/10/18 Page: 27 of 56 PagelD #: 30

IN THE CIRCUIT COURT OF MISSISSIPPI COUNTY

STATE OF MISSOURI
CIRCUIT JUDGE DIVISION
JERRY DAVIS, )
)
Plaintiff, ) Cause No. 18MI-CV00616
)
vs. )
)
GG BARNETT TRANSPORT, INC. and ) Division No.
BRANDON M. DOWELL, )
)
Defendants. )

DEFENDANT BRANDON M. DOWELL’S MOTION TO DISMISS
COMES NOW Defendant, Brandon M. Dowell, by and through his attorneys, Roberts
Perryman, P.C., and moves this Court to dismiss Plaintiff's Petition against Defendant on the
basis of forum non conveniens. Included with this Motion is the simultaneously filed Suggestions
in Support. In support of his Motion, Defendant states as follows:
1. Plaintiff Jerry Davis (“Plaintiff”) filed his Petition on October 11, 2018, in the
Mississippi County Circuit Court, alleging that Plaintiff was injured in a collision with a truck

operated by Defendant Brandon M. Dowell (“Defendant” or “Dowell”).

2. Plaintiff is a resident of the State of South Carolina.
3. Defendant Dowell is a resident of Charleston, Missouri.
4, Defendant GG Barnett Transport, Inc. is a Wisconsin corporation with its

principal place of business in Wisconsin.

5. The accident in question occurred in on Interstate 55 northbound in Logan
County, Illinois on December 13, 2016.

6. Based upon the doctrine of forum non conveniens, Defendant asserts that

Mississippi County is not the proper venue for this action.

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7. Missouri Courts have long recognized the doctrine of forum non conveniens. See
Chandler _v. Multidata Sys. Int’l Corp., 163 S.W.3d 537 (Mo. App. E.D. 2005); Dalton v.
Consolidated Rail Corp., 1988 Mo. App. LEXIS 1401 (Mo. App. E.D. 1988); Skewes v.
Masterchem Indus., 164 S.W.3d 92 (Mo. App. E.D. 2005).

8. Under this common law doctrine, the trial judge has the discretion to decline
Jurisdiction if the forum is inconvenient for the trial of the action and if a more appropriate forum
is available to the plaintiff. Chandler, 163 S.W.3d at 545.

9. Missouri trial courts are “obliged to give attention to the doctrine and to dismiss
cases which have no tangible relationship to Missouri.” Besse v. Mo. Pac. R.R. Co., 721 S.W.2d
740, 742 (Mo. 1986). The people of Missouri are not obliged to give attention to make their
courts available for lawsuits in which there is no significant nexus. Id.

10. The Missouri Supreme Court in State ex rel. Chicago, Rock Island & Pacific R.R.
Co. v. Riederer, 454 S.W.2d 36 (Mo. 1970) (en banc) enumerated six important, but non-
exclusive factors that trial courts should utilize as a guide when analyzing whether a case should
be dismissed based on forum non conveniens:

(1) Place of accrual of the cause of action;

(2) Location of witnesses;

(3) Residence of the parties;

(4) Any nexus with the place of suit;

(5) The public factor of the convenience to and burden upon the court; and

(6) The availability to plaintiff of another court with jurisdiction of the cause

of action affording a forum for plaintiff's remedy.

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Riederer, 454 S.W.2d at 39. The application of the doctrine is fact-intensive and the weight
afforded to any particular factor is dependent on the circumstances of the case. Anglim v.
Mo.Pac.R.Co., 832 S.W.2d 298, 302 (Mo. 1992).

11. Here, as more fully explained in Defendant’s Suggestions in Support, these
factors favor dismissal because the accident occurred in Logan County, Illinois and the
circumstances surrounding the accident are located in Logan County, Illinois.

12. The witnesses, first responders, and police officers involved in this matter are
located in Illinois.

13. The only connection this case has with Mississippi County, Missouri is that
Defendant Dowell resides in Mississippi County’; however, as more fully explained in
Defendant’s Suggestions in Support of his Motion to Dismiss, that fact does not provide a
sufficient nexus to the forum.

14. Defendant GG Barnett Transport is a Wisconsin corporation with its principal
place of business in Wisconsin. In this case, GG Barnett Transport did not employ Dowell, but
did own the tractor and trailer being operated by Dowell at the time of the accident. The Federal
Motor Carrier Safety Administration (FMCSA) requires that an interstate motor carrier be
subject to jurisdiction in any state where it commits an alleged tort. It is not alleged that
Defendant GG Barnett nor Defendant Dowell committed any tort in Missouri. Rather, the alleged
tort in this case was committed in Illinois.

15. | Defendant Dowell asserts that this action should be dismissed pursuant to the
doctrine of forum non conveniens and, in further support of his Motion, Defendant incorporates

by reference his Suggestions in Support of this Motion.

 

| Defendant Dowell notes that Plaintiff has filed a Motion for Change of Venue to St. Louis County, Missouri or Scott County,
Missouri with this Court. Defendant has filed a separate Response in Opposition to Plaintiff's Motion for Change of Venue and
maintains that any county in Missouri is an improper venue pursuant to the doctrine of forum non conveniens.

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WHEREFORE, Defendant Brandon M. Dowell, respectfully requests this Court to

dismiss this cause of action pursuant to the doctrine of forum non conveniens, and for such other

further relief as the Court deems just and proper.

Respectfully submitted,

ROBERTS PERRYMAN P.C.

/s/ Ted L. Perryman

Ted L. Perryman #28410
Korissa M. Zickrick #56069

Rachel Capel, #67744

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Attorneys for Defendant Dowell

CERTIFICATE OF SERVICE

The undersigned certifies that on this 15" day of November, 2018, copies of the
foregoing were served on the following counsel of record via the Court’s ECF filing system:

Zane T. Cagle #53775

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/s/ Ted L. Perryman

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IN THE CIRCUIT COURT OF MISSISSIPPI COUNTY

JERRY DAVIS,
Plaintiffs,

VS.

GG BARNETT TRANSPORT, INC., and

BRANDON M. DOWELL,

Defendants.

STATE OF MISSOURI
CIRCUIT JUDGE DIVISION

Cause No. 18MI-CV00616

Division No.

ae a a

ENTRY OF APPEARANCE

COMES NOW Rachel L. Capel with Roberts Perryman, P.C. and hereby enters

her appearance on behalf of Defendant Brandon M. Dowell.

Respectfully submitted,

ROBERTS PERRYMAN P.C.

/s/ Rachel L. Capel

Ted L. Perryman #28410

Korissa M. Zickrick #56069

Rachel L. Capel #67744

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Attorneys for Plaintiff

/s/ Rachel L. Capel

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‘Case: 1:18-cv-00289-SNLJ Doc. #: 1-1 Filed: 12/10/18 Page: 33 of 56 PagelD #: 36

IN THE CIRCUIT COURT OF MISSISSIPPI COUNTY

JERRY DAVIS,
Plaintiffs,

VS.

GG BARNETT TRANSPORT, INC., and

BRANDON M. DOWELL,

Defendants.

STATE OF MISSOURI
CIRCUIT JUDGE DIVISION

Cause No. 18MI-CV00616

Division No.

a a

ENTRY OF APPEARANCE

COMES NOW Korissa M. Zickrick with Roberts Perryman, P.C. and hereby

enters her appearance on behalf of Defendant Brandon M. Dowell.

Respectfully submitted,

ROBERTS PERRYMAN P.C.

/s/ Korissa M. Zickrick

Ted L. Perryman #28410

Korissa M. Zickrick #56069

Rachel L. Capel #67744

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Attorneys for Defendant Brandon M. Dowell

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Case: 1:18-cv-00289-SNLJ Doc. #: 1-1 Filed: 12/10/18 Page: 34 of 56 PagelD #: 37

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Attorneys for Plaintiff

/s/ Korissa M. Zickrick

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Case: 1:18-cv-00289-SNLJ Doc. #: 1-1 Filed: 12/10/18 Page: 35 of 56 PagelD #: 38

IN THE CIRCUIT COURT OF MISSISSIPPI COUNTY

JERRY DAVIS,
Plaintiffs,

VS.

GG BARNETT TRANSPORT, INC., and

BRANDON M. DOWELL,

Defendants.

STATE OF MISSOURI
CIRCUIT JUDGE DIVISION

Cause No. 18MI-CV00616

Division No.

a i a ae ae a

ENTRY OF APPEARANCE

COMES NOW Ted L. Perryman with Roberts Perryman, P.C. and hereby enters

his appearance on behalf of Defendant Brandon M. Dowell.

Respectfully submitted,

ROBERTS PERRYMAN P.C.

/s/ Ted L. Perryman

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Korissa M. Zickrick #56069

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Attorneys for Defendant Brandon M. Dowell

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Case: 1:18-cv-00289-SNLJ Doc. #: 1-1 Filed: 12/10/18 Page: 36 of 56 PagelD #: 39

CERTIFICATE OF SERVICE

The undersigned certifies that on this 15th day of November, 2018, copies of the
foregoing were served on the following counsel of record via the court’s ECF filing
system:

Zane T. Cagle #53775

THE CAGLE LAW FIRM, LLC
500 North Broadway, Suite 1605
St. Louis, MO 63102

(314) 241-1700 Phone

(314) 241-1738 Fax

zane@caglellc.com
Attorneys for Plaintiff

/s/ Ted L. Perryman

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“Return

IN THE 33RD JUDICIAL CIRCUIT, MISSISSIPPI COUNTY, MISSOURI

 

 

 

 

 

 

Judge or Division: Case Number: 18MI-CV00616
DAVID ANDREW DOLAN
Plaintiff/Petitioner: Plaintiff's/Petitioner's Attorney/Address
JERRY DAVIS ZANE THOMAS CAGLE
500 N BROADWAY
STE 1605 RECEIVED
vs. | ST LOUIS, MO 63102
Defendant/Respondent: Court Address: OCT 15 2018
GG BARNETT TRANSPORT, INC P.O. BOX 369
Nature of Suit: CHARLESTON, MO 63834
CC Pers injury-Vehicular (Date File Stamp)

 

 

Summons in Civil Case

The State of Missouri to: BRANDON M DOWELL
Alias:

 

404 SOUTH VIRGINIA STREET
CHARLESTON, MO 63834-2035

COURT SEAL OF You are summoned to appear before this court and to file your pleading to the petition, a
copy of which is attached, and to serve a copy of your pleading upon the attorney for
plaintiff/petitioner at the above address all within 30 days after receiving this summons,
exclusive of the day of service. If you fail to file your pleading, judgment by default may
be taken against you for the relief demanded in the petition.

 

40/14/2018 (S/ DOTTIE MCKENZIE
MISSISSIPPI] COUNTY Date Cl ako

Further Information:

 

Sheriff's or Server’s Return
Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
| certify that | have served the above summons by: (check one)

(] delivering a copy of the summons and a copy of the petition to the defendant/respondent.
[i leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the defendant/respondent with
Katrina Dowell (Csscte _ a person of the defendant's/respondent's family over the age of

15 years who permanently resides with the defendant/respondent.
CJ (for service on a corporation) delivering a copy of the summons and a copy of the complaint to:

 

 

 

 

(name) (title).
CJ other: .
Servedat. HA 4 SV foa'n io _St- (address)
in_YYVsssy'ssi (PPI (County/City of St. Louis), MO, on _f\- 1-19 (date) at QO: 27 (time).

 

Printed Name of Sheriff or Server Signature of Sheriff or Server

Must be sworn before a notary public if not served by an authorized officer:

 

 

 

 

Subscribed and sworn to before me on (date).
(Seal)
My commission expires:
Date Notary Public

Sheriff's Fees, if applicable
Summons
Non Est $
Sheriffs Deputy Salary
Supplemental Surcharge $. 10.00
Mileage $ ( miles @ $. per mile)

 

Totai $.
A copy of the summons and a copy of the petition must be served on each defendant/respondent. For methods of service on all

classes of suits, see Supreme Court Rule 54.

OSCA (06-18) SM30 (SMCC) For Court Use Only: Document Id # 18-SMCC-460 1 of 1 Civil Procedure Form No. 1; Rules 54.01 — 54.05,
54.13, and 54.20; 506.120 — 506.140, and 506.150 RSMo

 

 

 

 

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Case: 1:18-cv-00289-SNLJ Doc. #: 1-1 Filed: 12/10/18 Page: 38 of 56 PagelD #: 41

IN THE 33RD JUDICIAL CIRCUIT, MISSISSIPPI COUNTY, MISSOURI

 

 

 

 

 

 

Judge or Division: Case Number: 18MI-CV00616
DAVID ANDREW DOLAN
Plaintiff/Petitioner: Plaintiff's/Petitioner’s Attorney/Address
JERRY DAVIS ZANE THOMAS CAGLE

500 N BROADWAY

STE 1605

vs. | ST LOUIS, MO 63102

Defendant/Respondent: Court Address:
GG BARNETT TRANSPORT, INC P.O. BOX 369
Nature of Suit: CHARLESTON, MO 63834
CC Pers Injury-Vehicular (Date File Stamp)

 

 

Summons in Civil Case

 

The State of Missouri to: BRANDON M DOWELL
Alias:

404 SOUTH VIRGINIA STREET
CHARLESTON, MO 63834-2035

COURT SEAL OF You are summoned to appear before this court and to file your pleading to the petition, a

Oper OF copy of which is attached, and to serve a copy of your pleading upon the attorney for

(SPER plaintiff/petitioner at the above address all within 30 days after receiving this summons,
exclusive of the day of service. If you fail to file your pleading, judgment by default may
be taken against you for the relief demanded in the petition.

 

10/11/2018 /S/ DOTTIE MCKENZIE
Date Clerk

Further Information:

 

MISSISSIPPI COUNTY

 

Sheriff’s or Server’s Return
Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.

| certify that | have served the above summons by: (check one)

1] delivering a copy of the summons and a copy of the petition to the defendant/respondent.

(CJ leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the defendant/respondent with

, a person of the defendant's/respondent's family over the age of
15 years who permanently resides with the defendant/respondent.

CJ (for service on a corporation) delivering a copy of the summons and a copy of the complaint to:

 

 

 

 

 

 

 

 

 

 

 

(name) (title).
(J other:
Served at (address)
in (County/City of St. Louis), MO, on (date) at (time).
Printed Name of Sheriff or Server Signature of Sheriff or Server
Must be sworn before a notary public if not served by an authorized officer:
Subscribed and sworn to before me on (date).
(Seal)
My commission expires:
Date Notary Public
Sheriff's Fees, if applicable
Summons
Non Est $
Sheriffs Deputy Salary
Supplemental Surcharge $ 10.00
Mileage $ ( miles @ §. per mile)

 

Total $

A copy of the summons and a copy of the petition must be served on each defendant/respondent. For methods of service on all
classes of suits, see Supreme Court Rule 54.

 

 

OSCA (06-18) SM30 (SMCC) For Court Use Only: Document Id # 18-SMCC-460 1 of 1 Civil Procedure Form No. 1; Rules 54.01 — 54.05,
54.13, and 54.20; 506.120 — 506.140, and 506.150 RSMo
Case: 1:18-cv-00289-SNLJ Doc. #: 1-1 Filed: 12/10/18 Page: 39 of 56 PagelD #: 42

IN THE CIRCUIT COURT OF MISSISSIPPI COUNTY

STATE OF MISSOURI
CIRCUIT JUDGE DIVISION

JERRY DAVIS )
)

Plaintiff, ) Cause No.: 18MI-CV00616
V. )
)
G.G. BARNETT TRANSPORT, INC.; & )
BRANDON M. DOWELL )
)
)
Defendants. )

MOTION FOR CHANGE OF VENUE

COMES NOW Plaintiff, Jerry Davis (hereinafter “Plaintiff’) by and through his
attorneys’ of record The Cagle Law Firm, LLC and states to this Honorable Court as follows:

1. Mississippi County has less than 75,000 inhabitants.

2. Plaintiff request change of venue pursuant to Rule 51.03 V.A.MLR. (2018).

3. Plaintiff hereby makes suggestions to where this case should be sent which is
“convenient to the parties” is the Circuit Court of St. Louis County or the Circuit Court of Scott
County, State of Missouri.

WHEREFORE Plaintiff prays this Court enter an order transferring venue of this case to
another county and for such other relief this Court deems just and proper under the

circumstances.

 

 

Phone: (314) 241-1700/Fax: (314) 241-1738

ail: zane@caglellc.com
Attorneys for Plaintiff

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Case: 1:18-cv-00289-SNLJ Doc. #: 1-1 Filed: 12/10/18 Page: 40 of 56 PagelD #: 43

CERTIFICATE OF SERVICE

This hereby certifies that a copy of the foregoing was served upon the attorneys of record
below via electronic filing with this Court on this 11" day of Octopér, 2018:

By
Zane Cag}é, MO #53775

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18MI-CV00616

IN THE CIRCUIT COURT OF MISSISSIPPI COUNTY

STATE OF MISSOURI
CIRCUIT JUDGE DIVISION
JERRY DAVIS )
)
Plaintiff, ) Cause No.:
v. )
) Division:
GG BARNETT TRANSPORT, INC.;& —)
BRANDON M. DOWELL ) Plaintiff Requests Jury Trial On
) All Counts
)
Defendants. )
PETITION

COMES NOW Plaintiff, Jerry Davis (hereinafter “Plaintiff’) by and through his
attorneys’ of record The Cagle Law Firm, LLC and for his cause of action against the Defendant
GG Barnett Transport, Inc. (hereinafter referred to as “Defendant”); Defendant Brandon M.
Dowell (hereinafter referred to as “Dowell’”) and states to this Honorable Court as follows:

FACTS COMMON TO ALL COUNTS

1. Plaintiff is and at all times stated herein an individual, citizen, and resident of the
State of South Carolina.
2. Defendant is foreign corporation formed under the laws of the State of Illinois

with its principal place of business located at W7530 County South; Juneau, Wisconsin 53039.
3. Defendant may be served through its registered agent, Gregory G. Barnett at

W7530 County South; Juneau, Wisconsin 53039.

4. Dowell is and at all times stated herein an individual, citizen, and resident of the
State of Missouri.
5. Dowell may be severed at his residence located at 404 South Virginia Street;

Charleston, Missouri 63834-2035.

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6. That the time of incident alleged herein Defendant was engaged in business of
interstate commerce and trucking throughout Illinois, Missouri, and other states.

7. As acompany and/or corporation, Defendant, acts through its officers, agents,
servants, and/or employees. Any acts or omissions of an officer, agent, servant, and/or
employee, made while acting in the scope of authority delegated by the corporation, or within the
scope of the duties of said employee, is the act or omission of Defendant.

8. At all times herein mentioned and at the time of this crash, Defendant, was acting
individually and through its agents, servants, and/or employees, including but not limited to Co-
Defendant Dowell, each of whom were acting within the course and scope of his employment with
Defendant at the time of this crash.

9. Defendant individually, and through its agents, servants, and employees including
but not limited the Co-Defendant, Dowell , were at the time of the crash alleged herein engaging
in the business of a motor carrier in both intrastate and interstate commerce on Interstate 55
(hereinafter referred to as “I-55”) in Logan County, State of Illinois.

10. ‘I-55 as described herein are much traveled, open and publicly dedicated state
highways and thoroughfare in Logan County, State of Illinois.

11. Both Illinois and Missouri has adopted the Federal Motor Carrier Safety
Regulations.

12. At all times herein mentioned and at the time of this crash, Defendant is/was an
interstate common carrier, motor carrier, and trucking transport company subject to the Federal

Motor Carrier Safety Regulations.

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13. Defendant and its agents, servants, and employees including, but not limited to
Co-Defendant Dowell, at all relevant times set forth herein, were subject to the rules and
regulations contained and set forth in Title 49, Code of Federal Regulations, including but not
limited to, the sections thereof set forth herein.

14. At all times herein mentioned Defendant was acting individually and through its
agents, servants, and/or employees, including but not limited to Co-Defendant, Dowell.

15. At all times herein mentioned, Dowell was hired by Defendant to drive a
commercial motor vehicle and was directed by Defendant to transport various loads in interstate
commerce.

16. Defendant is vicariously liable for the acts and omissions of Co-Defendant,
Dowell as its agent, servant, and employee.

17. At all times herein mentioned, and at the time of the alleged incident,

Defendant, individually, and/or through its agents, servants, and/or employees, owned, leased,
controlled, and/or operated the 2007 Volvo, VIN#4V4NC9TH97N451237.

18. The incident alleged herein occurred on or about December 13, 2016, at
approximately 12:25 a.m. on northbound I-55 near milepost 139 in Logan County, State of Illinois.

19. On December 13, 2016, Defendant was the owner of a tractor trailer (2007 Volvo,
VIN#4V4NC9TH97N45 123 7) traveling northbound on I-55.

20. On December 13, 2016, Dowell, was the operator tractor trailer alleged herein as
an agent, servant, and/or employee of the Defendant.

21. On December 13, 2016, at approximately 12:25 a.m., Plaintiff was traveling
northbound on I-55 in the right hand lane in his 2007 International Tractor

(VIN#2HSCNAPR27C345954).

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22. At the above stated date and time, the tractor trailer operated by Dowell as
Defendant’s agent, servant, and/or employee was traveling northbound on I-55, when Dowell
switched and/or changed from the left hand lane into the right hand lane in which Plaintiff was
traveling striking the rear left portion of Plaintiff's vehicle causing him to spin out of control.

23. Plaintiff suffered and continues to suffer permanent and disabling injuries as a
direct and proximate result of this crash and Defendants negligent acts and omissions all of which
are more fully set forth herein.

24. The incident and crash described above was a federally recordable and State
reportable event against Defendant and its agent, servant, and employee, including but not limited
to Dowell.

25. The negligent acts and omissions of Defendant, and the negligence of its agents,
servants, and employees including but not limited to Co-Defendant Dowell, as described herein,
directly and proximately, caused or contributed to cause injury to Plaintiff, which includes severe
injuries to his head, neck, back, and spine including the muscles and ligaments attached thereto.

26. All of Plaintiff's injuries described above are painful, permanent and
disabling.

27. Asa direct and proximate result of this crash and the direct and proximate
result of the negligence of Defendant, and its agents, servants, and employees including but not
limited to Co-Defendant Dowell, ability to enjoy life has been permanently impaired.

28. Asa direct and proximate result of this crash and the direct and proximate
result of the negligence of Defendant, and its agents, servants, and employees including but not
limited to Co-Defendant Dowell, Plaintiff was caused to undergo necessary medical care and

treatment in excess of Ten Thousand Dollars ($10,000.00) to date.

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29. Asa direct and proximate result of this crash and the direct and proximate
result of the negligence of Defendant, and its agents, servants, and employees including but not
limited to Co-Defendant Dowell, Plaintiff will be further obligated to undergo such care and
treatment in the future in an amount that is not currently fully known, but is reasonably expected
to be substantial including but not limited to a surgical procedure to his spine.

30. As a direct and proximate result of this incident and as a direct and
proximate result of the negligence of Defendant, and its agents, servants, and employees including
but not limited to Co-Defendant Dowell, Plaintiff has loss wages in an amount undetermined at
this time.

31. Asadirect and proximate result of this incident and as a direct and
proximate result of the negligence of Defendant, and its agents, servants, and employees including
but not limited to Co-Defendant Dowell, Plaintiff will suffer future loss wages, and an impaired
ability to obtain gainful employment and as such will have diminished earning capacity in the
future.

WHEREFORE Plaintiff prays for a judgment in a sum in excess of Twenty-Five
Thousand Dollars ($25,000.00) as determined fair and reasonable to compensate him for
injuries, plus costs against the Defendants jointly and severally, plus aggravated (punitive)
damages, all interest allowed under Missouri law, together with their costs and for such other
relief this Court deems just and proper under the circumstances.

JURISDICTIONAL & VENUE ALLEGATIONS

32. | Venue is proper with this Court pursuant to RSMo. § 508.010.2(3) since the case

involves several defendant, some residents and others nonresidents of the State of Missouri and

since Dowell is a resident and citizen of Mississippi County, State of Missouri. Moreover, this

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Court has jurisdiction over this matter as Dowell is a citizen of Missouri and Defendant conducts
business and interstate trucking throughout the State of Missouri.
COUNTI
NEGLIGENCE
AGAINST DEFENDANT GG BARNETT TRANSPORT, INC.

COMES NOW Plaintiff, Jerry Davis, by and through his counsel and for Count I of his
Petition against Defendant GG Barnett Transport, Inc. (hereinafter “Defendant”), and restates
and realleges paragraphs 1 through 32 in an addition states to this Honorable Court as follows:

33. That the time of the incident and at all times alleged herein, Dowell, was acting in
the course and scope of his employment with Defendant, as a tractor trailer driver, agent, servant,
and employee, and Defendant is vicariously liable for the actions of Dowell, its agent, servant,
and employee.

34. That on December 13, 2016, at the time of this crash, Dowell was an agent,
servant and employee under the control, right of control, joint and mutual control, or joint and
mutual right of control of Defendant, and all of the acts of negligence on the part of Dowell were
committed within the course and scope of his agency and employment of, with and for
Defendant.

35. That on December 13, 2016, Defendant through its agents, servants, and
employees including but not limited to Co-Defendant Dowell was negligent, careless, and
breached its duty of care to the general public and Plaintiff on the date alleged herein in the
following respects:

a) Failed to ensure that they had adequate line-of-sight of other vehicles;

b) Failed to keep a proper lookout;

c) Failed to take proper remedial actions which could have avoided this collision or
minimized the impact;

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d)

e)
f)
g)
h)
i)
j)
k)

I)

Drove at an unsafe, excessive and/or dangerous rate of speed under the circumstances
existing at the time;

Operated the tractor trailer without adequate training and experience;

Failed to have the tractor trailer under proper control;

Failed to stay in the proper lane on the roadway;

Failed to properly maintenance or repair said tractor trailer prior to the crash;
Failed to conduct a pre-trip inspection of the tractor trailer;

Failed to signal before attempting a lane change on a public roadway;

Drove while tired and/or fatigued;

Failed to yield;

m) Operated the tractor trailer too fast for the conditions existing at the time and place of

n)

fo)
p)

q)

t)

the incident;

Operated Defendants’ tractor trailer over the amount of hours allowed by the Federal
Motor Carrier Safety Regulations;

Failed to keep a lookout ahead and laterally ahead while operating the tractor trailer;
Operated said tractor trailer when it was not safe to do so;

Failed to stay in designated lane of traffic;

Failed to warn Plaintiff of the attempt to change lanes;

Allowed the tractor trailer to strike enter Plaintiff's lane when it was not safe to do so
and struck Plaintiff's motor vehicle causing it to spine out of control;

Failed to properly train and qualify Co-Defendant Dowell to make sure it is safe to
complete a lane change on a public roadway;

Failed to properly train and qualify Co-Defendant Dowell to signal and/or check
mirrors, and/or check blind spots when attempting a lane change on a public roadway;
and

Failed to exercise the highest duty of care owed to Plaintiff and the public in the
operation of the tractor trailer.

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36. | Onsaid date, while in the course and scope of his employment with Defendant,
Dowell, failed to be diligent at all times and failed to exercise the highest duty of care when he
failed to keep a lookout, failed to signal, and swerved into Plaintiff's designated lane of I-5
striking Plaintiff's motor vehicle causing Plaintiff's injuries and damages more fully set forth
herein.

37. Each of the negligent acts or omissions by Defendant and Dowell, and each of
them, as described in the above paragraphs and the below paragraphs, acting separately or in
combination, was a direct and proximate cause of the crash in question and the resulting injuries
to Plaintiff.

38. Asadirect and proximate result of the negligence of Defendant and Dowell,
either solely, individually, or jointly, severally and in combination with the negligence of each
other, as set forth and alleged herein and hereinafter, Plaintiff was seriously injured as described
herein and has sustained damages, pain and suffering and will sustain damages, pain and
suffering in the future.

39. | Defendant knew or had information from which they, in the exercise of
ordinary care, should have known that such conduct as described herein created a high degree of
probability of injury.

40. Defendant in allowing Dowell to operate the tractor trailer in the manner in which
it was operated on the public roadways, was willful, wanton, reckless and intentional, and shows
complete indifference and conscious disregard for the safety of the motoring public, so as to

entitle Plaintiff to Aggravated (punitive) Damages.

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41. Because of Defendant’s willful, wanton, reckless and intentional behavior, and for
their indifference and conscious disregard for the safety of the motoring public, aggravated
(punitive) damages are appropriate in this action in order to punish Defendant and to deter others
from similar conduct.

42. Defendant’s reckless and intentional behavior, and their complete indifference
and conscious disregard for the safety of the motoring public, directly and proximately caused
the wreck and the resulting injuries to Plaintiff described herein.

43.  Defendant’s violations of numerous Missouri statutes and/or traffic law and
Federal Motor Carrier Safety Regulations as described herein caused or contributed to cause the
crash alleged herein.

44. Defendant’s history of Federal Motor Carrier Safety Regulation violations and at
the time of this crash in allowing it driver to operate a commercial motor vehicle while not being
properly qualified and other applicable Federal Regulations shows a complete indifference to and
conscious disregard for the safety of the motoring public including Plaintiff.

WHEREFORE Plaintiff prays for a judgment in a sum in excess of Twenty-Five
Thousand Dollars ($25,000.00) as determined fair and reasonable to compensate him for
injuries, plus costs against the Defendants jointly and severally, plus aggravated (punitive)
damages, all interest allowed under Missouri law, together with their costs and for such other

relief this Court deems just and proper under the circumstances.

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COUNT I
NEGLIGENT HIRING, TRAINING, SUPERVISING & RETAINING
AGAINST DEFENDANT GG BARNETT TRANSPORT, INC.

COME NOW Plaintiff by and through his counsel and for Count II of his Petition
against Defendant and restates and realleges paragraphs 1 through 44 and in an addition states

to this Honorable Court as follows:

45. Defendant owed the general public, including but not limited to Plaintiff, a duty
to properly, diligently and adequately screen potential drivers in order to determine the
qualifications of its agents, servants, and employees, and such duties include, but are not

limited to:

a. Adequately evaluating applicants before hiring them as truck drivers and
agents, servants, and employees;

b. Adequately training and supervising said agents, servants, and employees;
and

c. Adequately evaluating the employees' job performance so as to discharge
any incompetent or negligent employee before he injured the public or
property.

46. Defendant owed the general public, including Plaintiff, a duty to see, confirm and

require that Dowell’s employment application was truthfully, accurately and fully completed.

47, Pursuant to the Federal Motor Carrier Safety Regulations, Defendant, owed the
general public, including Plaintiff, a duty to determine the qualifications of its agents, servants,

and employees, including, but not limited to:

a. Adequately evaluating Co-Defendant Dowell’s performance, including
thorough training and supervision, and to discharge any incompetent or
negligent applicant, agent, servant, and/or employee before he injured the
public or property;

b. Ensure that Co-Defendant Dowell was properly licensed and qualified to
operate a commercial motor vehicle;

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c. Ensure that Co-Defendant Dowell was instructed on how to properly
perform a lane change; and

d. Ensure that Co-Defendant Dowell was instructed on the rules of the road
including, but not limited to the Federal Motor Carrier Safety Regulations
and Missouri Traffic Regulations.

48. Defendant had a duty to comply with all of the above and below listed Federal
Motor Carrier Safety Regulations, Codes, and/or Statutes, so as to protect the general public,

including the Plaintiff, from the unsafe operation of commercial motor vehicles.

49. Defendant breached its duty to the general public, including the Plaintiff, by
their negligent and careless hiring, training, supervising, and retaining Co-Defendant Dowell
as its’ agent, servant and employee, who was unqualified, incompetent, and/or negligent and

careless at the time of this crash and during the time leading up to this crash.

50. Defendant failed to properly train their agents, servants and employees, including
Co-Defendant Dowell, in the proper operation, inspection, maintenance, record-keeping, and

check-in, necessary for the safe operation of a commercial motor vehicle and trailer.

51. | Defendant failed to properly instruct and train their agents, servants, and
employees (including Co-Defendant Dowell) how to properly and safely operate the tractor
trailer Dowell was driving at the time of this crash.

52. Defendant failed to provide safety courses to their agents, servants, and employees
(including Co-Defendant Dowell) on how to safely operate, inspect, and maintain Defendant’s
tractor trailer.

53. Defendant failed to provide continuing safety courses to their agents, servants,

and employees (including Co-Defendant, Dowell) on trucking safety issues.

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54, Because of Defendant’s willful, wanton, reckless and intentional behavior, and in
failing to ensure their drivers were properly trained and certified was a conscious disregard for
the safety of the motoring public, aggravated (punitive) damages are appropriate in this action in
order to punish Defendant and to deter others from similar conduct.

55. | Defendant’s reckless and intentional behavior, and their complete indifference
and conscious disregard for the safety of the motoring public, directly and proximately caused
the wreck and the resulting injuries to Plaintiff described herein.

56.  Defendant’s violations of numerous IIlinois statutes and/or traffic law and Federal
Motor Carrier Safety Regulations as described herein caused or contributed to cause the crash
alleged herein.

57. Defendant’s history of Federal Motor Carrier Safety Regulation violations and at
the time of this crash in allowing its driver to operate a commercial motor vehicle while not
being properly qualified and other applicable Federal Regulations shows a complete indifference
to and conscious disregard for the safety of the motoring public including Plaintiff.

WHEREFORE Plaintiff prays for a judgment in a sum in excess of Twenty-Five
Thousand Dollars ($25,000.00) as determined fair and reasonable to compensate him for
injuries, plus costs against the Defendants jointly and severally, plus aggravated (punitive)
damages, all interest allowed under Missouri law, together with their costs and for such other

relief this Court deems just and proper under the circumstances.

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COUNT III
NEGLIGENCE
AGAINST DEFENDANT BRANDON M. DOWELL

COME NOW Plaintiff, by and through his counsel and for Count III of his Petition
against Brandon M. Dowell (hereinafter referred to as “Dowell”) and restates and realleges
paragraphs | through 33 in an addition states to the Court as follows:

58. That the time of the incident and at all times alleged herein, Defendant, Dowell
was acting in the course and scope of his employment with Defendant.

59. That on December 13, 2016, at the time of this crash, Dowell was an agent,
servant and employee under the control, right of control, joint and mutual control, or joint and
mutual right of control of Defendant, and all of the acts of negligence on the part of Dowell were
committed within the course and scope of his agency and employment of, with and for
Defendant.

60. That on December 13, 2016, Dowell was negligent, careless, and breached
his duty of care to the general public and Plaintiff on the date alleged herein in the following
respects:

a) Failed to ensure that they had adequate line-of-sight of other vehicles;

b) Failed to keep a proper lookout;

c) Failed to take proper remedial actions which could have avoided this collision or
minimized the impact;

d) Drove at an unsafe, excessive and/or dangerous rate of speed under the circumstances
existing at the time;

€) Operated the tractor trailer without adequate training and experience;
f) Failed to have the tractor trailer under proper control;

g) Failed to stay in the proper lane on the roadway;

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h)
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1)

Failed to properly maintenance or repair said tractor trailer prior to the crash;
Failed to conduct a pre-trip inspection of the tractor trailer;
Failed to signal prior to attempting to change lanes on a public roadway;

Drove while tired and/or fatigued and/or while distracted using a cellular telephone
and/or mobile device;

Failed to yield the right-of-way;

m) Operated the tractor trailer too fast for the conditions existing at the time and place of

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6l.

the incident;
Allowed the tractor trailer to be operated when it exceed the maximum weight limit;

Operated said tractor trailer when not qualified to operate a commercial motor vehicle
pursuant to the Federal Motor Carrier Safety Regulations and/or Missouri law;

Operated tractor trailer over the amount of hours allowed by the Federal Motor
Carrier Safety Regulations on a public roadway;

Failed to keep a lookout ahead and laterally ahead while operating the tractor trailer;
Operated said tractor trailer when it was not safe to do so;

Failed to stay in his lane and without warning swerved into Plaintiff's portion of the
roadway and/or lane and struck Plaintiffs motor vehicle causing him to lose control
of said vehicle;

Failed to warn Plaintiff that his vehicle was about to be struck;

Allowed the tractor trailer to strike enter Plaintiff's lane when it was not safe to do so
striking Plaintiff's vehicle causing him to lose control; and

Failed to exercise the highest duty of care owed to Plaintiff and the public in the
operation of the tractor trailer.

On said date, while in the course and scope of his employment with Defendant,

Dowell failed to be diligent at all times and failed to exercise the highest duty of care when he

failed to keep a lookout, failed to signal, and swerved into Plaintiff’s lane and/or portion of the

roadway, striking Plaintiff's motor vehicle.

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62. Each of the negligent acts or omissions by Dowell was a direct and proximate
cause of the crash in question and the resulting injuries to Plaintiff.

63. Asa direct and proximate result of the negligence of Dowell as set forth and
alleged herein and hereinafter, Plaintiff was seriously injured as described herein and has
sustained damages, pain and suffering and will sustain damages, pain and suffering in the future.

64. Dowell knew or had information from which he, in the exercise of ordinary
care, should have known that such conduct as described herein created a high degree of
probability of injury.

65. Dowell knew or had information from which he, in the exercise of ordinary
care, should have known that the manner in which he operated said tractor trailer as described
herein on a public roadway was operating in violation of the law and this behavior and conduct
was reckless and intentional and shows a complete indifference and conscious disregard for the
safety of the motoring public, so as to entitle Plaintiff to Aggravated (punitive) Damages.

66. | Dowell to operate the tractor trailer in the manner in which it was operated on the
public roadways, was willful, wanton, reckless and intentional, and shows complete indifference
and conscious disregard for the safety of the motoring public, so as to entitle Plaintiff to
Aggravated (punitive) Damages.

67. Because of Dowell’s willful, wanton, reckless and intentional behavior, and for
their indifference and conscious disregard for the safety of the motoring public, aggravated
(punitive) damages are appropriate in this action in order to punish Dowell and to deter others

from similar conduct.

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68. | Dowell’s reckless and intentional behavior, and his complete indifference and
conscious disregard for the safety of the motoring public, directly and proximately caused the
wreck and the resulting injuries to Plaintiff described herein.

69.  Dowell’s violations of numerous Missouri statutes and/or traffic law and Federal
Motor Carrier Safety Regulations as described herein caused or contributed to cause the crash
alleged herein.

WHEREFORE Plaintiff prays for a judgment in a sum in excess of Twenty-Five
Thousand Dollars ($25,000.00) as determined fair and reasonable to compensate him for
injuries, plus costs against the Defendants jointly and severally, plus aggravated (punitive)
damages, all interest allowed under Missouri law, together with their costs and for such other

relief this Court deems just and proper under the circumstances.

Respectfully Submitted,

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Attorneys for Plaintiff

   

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